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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

    Kristin Worth, Austin Dye, Axel Anderson,              Case No. 0:21-CV-01348 (KMM/LIB)
    Minnesota Gun Owners Caucus, Second
    Amendment Foundation, and Firearms
    Policy Coalition, Inc.,

                        Plaintiffs,                     DEFENDANDANT’S MEMORANDUM
                                                      OF LAW IN SUPPORT OF MOTION FOR
          vs.                                                       STAY OF INJUNCTION

    John Harrington, in his individual capacity       *EXPEDITED HANDLING REQUESTED
    and in his official capacity as
    Commissioner of the Minnesota
    Department of Public Safety, et al.

                         Defendants.

                                       INTRODUCTION

         Defendant Commissioner1 of the Minnesota Department of Public Safety (“DPS”),

submits the following memorandum in support of his motion for a Stay of Injunction

pursuant to Fed. R. Civ. P. 62(d), for Relief from Order pursuant to Fed. R. Civ. P. 60(b)(6),

and for emergency relief and expedited handling pursuant to Local Rule 7.1(d).2

         Minnesota’s statute limiting gun permits to people 21 or older has been in effect for

twenty years. DPS’s forms, processes, computer programs and databases have been built

around that requirement. Today, this Court enjoined enforcement of that statute, effective


1
  Bob Jacobson was sworn in as the Commissioner of the Minnesota Department of Public
Safety on January 3, 2023.
2
  Counsel for DPS contacted chambers by telephone and email on March 31, 2023 to obtain
a hearing date and briefing schedule as required by local rule 7.1(d)(2) and will amend
DPS’ Notice of Hearing when a date is provided.
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immediately.      But those longstanding processes and programs cannot be replaced

overnight. Further, DPS is considering an appeal, which counsels in favor of maintaining

the status quo. Therefore, DPS asks this court for:

         1) emergency relief from today’s order while this motion is being considered; and
either
       2) A stay of the order pending appeal, or in the alternative, a stay for 60 days to
allow for its orderly implementation.

         Other courts who have ruled on the same legal issue (the Second Amendment rights

of 18-to-20-year-olds) have stayed their injunctions pending appeal. E.g., Miller v. Bonta,

542 F. Supp. 3d 1009, 1069 (S.D. Cal. 2021); see also Firearms Pol'y Coal., Inc. v.

McCraw, No. 4:21-CV-1245-P, 2022 WL 3656996, at *12 (N.D. Tex. Aug. 25, 2022).

                                       ARGUMENT

   I.       THE ORDER SHOULD BE STAYED PENDING APPEAL PURSUANT
            TO FED. R. CIV. P. 62(d).

         Federal Rule of Civil Procedure 62(a) provides an automatic stay upon a judgment’s

execution for thirty days. Fed. R. Civ. P. 62(a). For a final judgment that grants an

injunction, however, there is no automatic stay. Id. The Court may exercise its discretion

to “suspend [or] modify” an injunction pending appeal if it provides “terms that secure the

opposing party’s rights.” Id. at 62(d). The relevant factors in determining if a court should

stay an injunction pending appeal are: (1) whether the party against whom the injunction

was granted made a strong showing of a likelihood of success on the merits; (2) whether

the party against whom the injunction was granted will be irreparably injured absent a stay;

(3) whether a stay will substantially injure the other parties’ interests; and (4) where the

public interest lies. In re Workers' Compensation Refund, 851 F. Supp. 1399, 1401 (D.

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Minn. 1994) (citing Hilton v. Braunskill, 481 U.S. 770 (1987); see also Hunt v. Bankers

Tr. Co., 799 F.2d 1060, 1067 (5th Cir. 1986); 11 Charles Alan Wright & Arthur R. Miller,

Federal Practice and Procedure § 2904 (3d ed.). Despite these clearcut factors, the decision

to issue a stay pending appeal “contemplate[s] individualized judgments in each case,” and

it “cannot be reduced to a set of rigid factors.” Hilton, 481 U.S. at 777.

       All four factors weigh in favor of granting a stay of the injunction. In considering

the first factor, the likelihood of success on the merits, the focus is not necessarily on

whether the applicant has shown a likelihood that its appeal will be successful, although

this is relevant, but whether the order involves the determination of substantial and novel

legal questions. In re Workers' Compensation Refund, 851 F. Supp. at 1401. The rights of

18-to-20-year-olds to carry firearms outside the home under the Second and Fourteenth

Amendments is an issue of first impression in this district and one which is simultaneously

being decided differently by both district and circuit courts of appeal throughout the

country. The issue will likely be determined by the Supreme Court, and therefore certainly

involves the determination of both substantial and novel legal questions. A stay would be

in accord with other district courts who have ruled on the very issues in this case. “Because

this case involves serious questions going to the merits, a temporary stay is in the public

interest.” Miller v. Bonta, 542 F. Supp. 3d 1009, 1069 (S.D. Cal. 2021), vacated and

remanded, No. 21-55608, 2022 WL 3095986 (9th Cir. Aug. 1, 2022); see also Firearms

Pol'y Coal., Inc. v. McCraw, No. 4:21-CV-1245-P, 2022 WL 3656996, at *12 (N.D. Tex.

Aug. 25, 2022).



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       As to the second factor, whether the party against whom the injunction was granted

will be irreparably injured absent a stay, DPS has multiple injuries absent a stay. First, any

time a statute is enjoined, the state suffers the irreparable harm of denying the public the

enforcement of its duly-enacted laws. Minnesota also has an interest in the full adjudication

of this issue before it issues potentially invalid permits. If this decision were overruled,

there would be innumerable young people with guns, whose permits were no longer valid.

Minnesota’s interest merges with that of the public.

       The immediate harm to DPS, however, is practical. DPS requires time to evaluate

and responsibly implement the order. For example, it must analyze other relevant statutes

to ensure that it is complying with both the order and any other laws relating to the permit-

to-carry process. Reciprocity forms must be amended, the list of states whose laws are not

similar to Minnesota’s must be amended, databases must be built for collecting data to

track these new permits, and computers and system programming needs to be completed

to ensure that DPS does not run afoul of those requirements. See Minn. Stat. § 624.714,

subds. 15, 16(a), 16(c), 16(d). In addition, similar changes need to be made at multiple

levels of government. Local law enforcement needs to be briefed on the order as well as

every change that must be made in their processes to ensure uniform and streamlined

permitting processes.

       On the other hand, sheriffs are required to issue permits within 30 days of receipt of

applications. Minn. Stat. § 624.714, subd. 6(a). If applications are received before the

processes are updated, then DPS would be faced with the choice of either violating the 30-

day timeline or essentially flying by the seat of its pants. A stay would alleviate the

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practical impossibilities in implementing the injunction immediately. See Solutran, Inc. v.

U.S. Bancorp & Elavon, Inc., No. 13-CV-02637-SRN/BRT, 2018 WL 6681748, at *3 (D.

Minn. Dec. 19, 2018) (granting a motion to stay an injunction in part because the court

recognized the challenge faced with sooner implementation of the injunction).

       As to the third factor, whether a stay will substantially injure the other parties’

interests, to the contrary, a stay will preserve the interests of Plaintiffs. A stay would

moderate the potential negative effects of relying on the injunction while it is subject to

appellate review and potential reversal. If Plaintiffs immediately obtained permits to carry

and publicly carried their firearms while the injunction was pending, Plaintiffs would be

subject to criminal liability, the very thing they sought to avoid, if the statute is found

constitutional on appeal. A stay preserves the status quo until the issue is fully and finally

adjudicated by the Eighth Circuit and ultimately the Supreme Court.

       The fourth factor, where the public interest lies, also weighs in favor of a stay. The

injunction concerns novel issues that are likely to be reviewed by the Eighth Circuit, and

on which the federal circuits are split. As a result, maintaining the status quo will also

improve public confidence in the judicial system. Such confidence in the validity and

finality of court orders would be undermined if the injunction were reversed on appeal and

all affected new permit holders suddenly had invalid permits and were no longer able to

carry. Second, the public interest is best served by an orderly implementation of this

significant change to state law. As stated previously, several other requirements in state

law are affected by the injunction and the public interest is best served if DPS can ensure

uniform, safe, and correct implementation of the change to Minnesota’s permitting scheme.

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         As all four factors weigh in favor of granting a stay pending appeal, a stay of the

injunction pursuant to Fed. R. Civ. P. 62(d) is proper.

   II.      DEFENDANTS SHOULD BE GRANTED RELIEF FROM THE MARCH
            31, 2023 ORDER PURSUANT TO FED. R. CIV. P. 60(b)(6).

         In addition to Rule 62, Fed. R. Civ. P. 60(b)(6) empowers the court, on motion and

just terms, to relieve a party from a final judgment, order, or proceeding for any other

reason justifying relief from the operation of the judgment. Relief from the portion of the

order which immediately enjoins Defendants from enforcing Minn. Stat. § 624.714, subd.

1(a) and § 624.714, subd. 2(b)(2) is necessary.

         Such a motion may be granted only in “extraordinary circumstances.” Raymond v.

United States, 933 F.3d 988, 991 (8th Cir. 2019) (citation and quotation marks omitted). In

determining whether there are extraordinary circumstances, courts “may consider a wide

range of factors” including “the risk of injustice to the parties and the risk of undermining

the public's confidence in the judicial process.” Buck v. Davis, 137 S. Ct. 759, 778 (2017)

(citation and quotation marks omitted). In addition, a “precondition” of Rule 60(b)(6) relief

is a “good claim or defense.” Id. at 780 (citation and quotation marks omitted). Time is

relevant because the longer the delay, “the more intrusive is the effort to upset the finality

of the judgment.’” Duluth v. Fond du Lac Band of Lake Superior Chippewa, 977 F. Supp.

2d 944, 951 (D. Minn. 2013), rev'd and remanded sub nom. City of Duluth v. Fond du Lac

Band of Lake Superior Chippewa, 785 F.3d 1207 (8th Cir. 2015).

         Here, the requisite extraordinary circumstances exist. This case concerns a matter

of impression in this district, and a matter which is pending throughout the country in both


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the district courts and circuit courts of appeal. Courts are not uniformly determining the

outcome of this issue and there is a possibility of reversal on appeal. DPS and Defendants

have a strong defense to Plaintiffs’ claims as others around the country have prevailed on

the same issue. There is a risk of undermining public confidence in the legal process if 18-

to-20-year-olds throughout Minnesota obtain firearms and the permits to carry them in

reliance on the March 31, 2023 Order, and it is reversed on appeal, making their permits

invalid. DPS has moved quickly to stay the injunction, judgment has not yet been entered,

and any potential impact has been minimized as much as possible. For these reasons, relief

from the injunction pursuant to Fed. R. Civ. P. 60(d)(6) is warranted.

                                     CONCLUSION

       For the aforementioned reasons, the DPS respectfully requests the Court: 1) grant

an emergency stay of its March 31, 2023 Order while this motion is being considered;

and 2) either stay the Order during the pendency of any appeal, or at a minimum stay it

for 60 days so that it can be responsibly implemented.

Dated: March 31, 2023                        Respectfully submitted,

                                             KEITH ELLISON
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                                             State of Minnesota


                                             s/ Amanda E. Prutzman
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